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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
CHARLESTON DIVISION

IN RE: ETHICON, INC. PELVIC
REPAIR SYSTEM PRODUCTS LIABILITY Master File No. 2:12-MD-02327
LITIGATION MDL No. 2327

THIS DOCUMENT RELATES TO:
JOSEPH R. GOODWIN

Tina Burris v. Ethicon, Inc. U.S. DISTRICT JUDGE
Civil Action No. 2:14-cv-24320

RULE 26 EXPERT REPORT OF DR. NIALL GALLOWAY

The following report is provided pursuant to Rule 26 of the Federal Rules of Civil
Procedure. The opinions, which are held and expressed are as follows:

I. QUALIFICATIONS

| am an Associate Professor of Surgery (Urology) at the Emory University School of
Medicine in Atlanta, Georgia. | obtained a M.B., Ch.B. from the University of Aberdeen
Medical School in 1974 and went on to Edinburgh, Scotland for internship. | was awarded
Fellowship of the Royal College of Surgeons of England in 1979 and was later awarded
Fellowship of the Royal College of Surgeons of Edinburgh. | completed my residency in
surgery in 1980 at Royal United Hospital in Bath, England.

| was appointed Lecturer in Surgery/Urology at the University of Edinburgh in
1982. At that time, | was able to initiate collaboration between the Urology and
Gynecology specialties, which led to the creation of the first multidiscipline Continence
Clinic in Scotland. | was appointed Senior Registrar in 1984 at the University Hospital of
Wales in Cardiff. In 1986, | was invited to Duke University as a Research Fellow and was
later appointed to the faculty as visiting professor. | was invited to join the faculty of
Emory University School of Medicine in Atlanta in 1988. In 1992, | co-founded the Emory
Continence Center, where | presently serve as Medical Director. The Continence Center
is staffed by Urology, Gynecology and Gastroenterology physicians, as well as specialty
trained continence nurses. The center provides all aspects of comprehensive assessment
and treatments for pelvic floor dysfunction including incontinence, prolapse, bowel

problems, and pelvic pain.

| was elected to the Atlanta Urological Association in 1990, the Southeastern
Section of the American Urological Association AUA in 1993, and by invitation to the
National Urological Forum in 1994. From 2007 to 2008, | served on the Medical Executive

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Committee of the Georgia Urological Association. | have recently stepped down from the
position of Chairman of the Board of Directors for the National Association for
Continence, after serving two consecutive terms. | have been a member of the editorial
board for the European Association of Urology since 2011. | am an author of many book
chapters, abstracts, and peer reviewed journal articles and have given presentations
regarding pelvic floor disorders, including pelvic organ prolapse (POP) and stress urinary
incontinence (SUI). | have recently published a new book titled “Seeking Symmetry:

Finding Patterns in Human Health”.

My experience, education, and training are more fully summarized in my
curriculum vitae, attached to this report as Exhibit A.

It. INTRODUCTION

Over the past several years, more and more of my surgical practice consists of
handling complications resulting from the placement of synthetic mesh in the vagina for
POP and SUI. | see several new patients every month with mesh-related complications.
Synthetic mesh can take a trivial condition and raise a host of aggravating problems that
interfere with activities of normal life. Surgeons and physicians saw these problems soon
after these products were introduced. The most common complaints are pain and
dyspareunia from banding, scarring, shrinkage, and contraction of the mesh.

In the introduction of trans-vaginally-placed mesh devices into the medical
marketplace for the treatment of SUI, a basic principle of medicine was violated; that is,
“Do No Harm.” These products were introduced into the marketplace despite red flag
alerts from the hernia experience and literature, the known uniqueness of the vaginal
environment, and early adverse event reports. As a result, a public health crisis has been
created. Women have been forced to deal with serious and unanticipated complications
and doctors have been confronted with conditions that are difficult, and sometimes
impossible, to treat. All of this was predictable.

The opinions expressed in this report are based on my experience treating women
with mesh complications and surgically removing mesh and the medical and scientific
literature. All my opinions have been made to a reasonable degree of medical certainty.

Hi. DISCUSSION

The extrapolation of the placement of mesh in other parts of the body (e.g., the
abdominal wall) to the vagina was an erroneous idea. The vagina is a unique environment.
Although the vagina can be forgiving (as in accommodating a vaginal birth and the
remarkable healing afterwards), it can also be as hostile as any area in the human body.
The vagina is also extremely variable from one individual to the next and over time.
Synthetic mesh devices failed to take into consideration biological and anatomical

differences of the vagina.
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1. A permanent synthetic mesh device designed to be placed in a contaminated
environment (i.e., vagina) contradicts basic surgical principles.

The vagina is populated and colonized with numerous bacteria and yeast and is
located immediately adjacent to the bowel and anus.

The vagina is the only area of the body in which polypropylene mesh is placed in
a bacteria laden surgical field. In fact, the placement of polypropylene mesh is actually
contraindicated in this setting. Choi reported on the outcomes of 33,832 cases of ventral
hernia repair with mesh. The authors of this study concluded, “there is a significant
increase in risk of postoperative occurrences following VHRs [ventral hernia repairs] using
mesh in clean-contaminated and contaminated cases relative to clean cases.” The study
recommended avoiding the use of mesh in any level of contamination.+

Culligan and others have shown that bacterial colonization exists even after
attempts to sterilize the vagina in preparation for surgery. Even following standard
surgical scrub with providone-iodine and pre-operative antibiotics, the majority of
women (52%) had positive cultures at 30 minutes. Bacteria found in baseline
(preoperative) vaginal cultures included anaerobic pathogens (45%), staphylococcus
aureus (16%), alpha-hemolytic streptococcus (23%), E. coli (42%), klebsiella pneumonia
(13%), and Group B streptococci (13%).2

Synthetic mesh materials are prone to infections and “notoriously resistant to
antibiotics and host defenses, and to persist until the biomaterial is removed.”? In a
prospective study of 64 consecutive patients undergoing vaginal implantation of a
lightweight, collagen-coated monofilament polypropylene mesh, Vollebregt, et al.
showed that 96 % of the mesh arms were colonized by different types of bacteria.* The
bacteriological analysis of 16 meshes removed because of complications following the
surgical management of urinary incontinence or POP showed multimicrobial infection in
31% of cases, including P. mirabilis (in 25%), E. coli, Staphylococcus, Streptococcus and

1 Choi, J. J., Palaniappa, N. C., Dallas, K. B., Rudich, T. B., Colon, M. J., & Divino, C. M. (2012). Use of mesh
during ventral hernia repair in clean-contaminated and contaminated cases: outcomes of 33,832 cases. Ann
Surg, 255(1), 176-180. doi: 10.1097/SLA.0b013e31822518e6.

? Culligan, P., Heit, M., Blackwell, L., Murphy, M., Graham, C. A., & Snyder, J. (2003). Bacterial colony counts
during vaginal surgery. Infect Dis Obstet Gynecol, 11(3), 161-165. doi: 1080/10647440300025515.

3 de Tayrac, R., & Letouzey, V. (2011). Basic science and clinical aspects of mesh infection in pelvic floor
reconstructive surgery. Int Urogynecol J, 22(7), 775-780. doi: 10.1007/s00192-011-1405-4,

* Vollebregt, A., Troelstra, A., & van der Vaart, C. H. (2009). Bacterial colonisation of collagen-coated
polypropylene vaginal mesh: are additional intraoperative sterility procedures useful? Int Urogynecol J
Pelvic Floor Dysfunct, 20(11), 1345-1351. doi: 10.1007/s00192-009-0951-5.

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Enterococcus [8]. Bacterial contamination was found in all meshes, even in a case of
repeat surgery for mesh shrinkage with no erosion. Bacterial density was low (<103
CFU/mL) in 43% of cases but in others reached 10° CFU/mL.>

Lactobacilii dominate the normal bacteria seen in the vagina and routinely
produce hydrogen peroxide and lactic acid. “Their toxic and inhibitory effect against the
overgrowth of pathogens in the vagina is documented by in vitro studies.”® This issue
becomes important since peroxides are implicated in the oxidation and degradation of
polypropylene in the human body.

Infection, even subclinical, has been linked with misbehaving mesh and mesh
complications, including chronic infection and abscess, wound separation, erosion,
fistulae, shrinkage, chronic inflammation, degradation, and functional bladder problems.
In a study by Wang, bacterial colonization was also linked to de novo urge symptoms after
placement of mesh. In that study, 83% of patients with urge symptoms had bacteria
identified in the excised tissue, compared to 5% in controls.’

The difference in the abdomen and vagina was demonstrated as early as 2000.
Visco et al., reporting on their experience with sacral colpopexy, noted that “the rate of
mesh erosion is higher and the time to mesh erosion is shorter with combined vaginal-
abdominal sacral colpoperineopexy with vaginal suture and vaginal mesh placement in
comparison with abdominal sacral colpopexy.” The erosion rate with traditional sacral
colpopexy was noted to be 4.5% whereas the erosion rate when mesh was placed
vaginally was 40%. As a result, the investigators discontinued the practice of attaching
vaginal mesh directly to the perineal body and concluded that “mesh erosions may be the
only clinical manifestations of a bacterial contamination.”®

It was foreseeable that placing mesh in a contaminated environment would create
problems, e.g. de novo infection, abscess, erosion, and pain.

In my opinion, inserting polypropylene mesh (known to be problematic when
placed in a contaminated field) in the vagina (known to contain bacteria, known to be

5 Boulanger, L., Boukerrou, M., Rubod, C., Collinet, P., Fruchard, A., Courcol, R. J., & Cosson, M. (2008).
Bacteriological analysis of meshes removed for complications after surgical management of urinary
incontinence or pelvic organ prolapse. Int Urogynecol J Pelvic Floor Dysfunct, 19(6), 827-831. doi:
10.1007/s00192-007-0537-z.

6 Mijac, V. D., Dukic, S. V., Opavski, N. Z., Dukic, M. K., & Ranin, L. T. (2006). Hydrogen peroxide producing
lactobacilli in women with vaginal infections. Eur J Obstet Gynecol Reprod Biol, 129(1), 69-76. doi:

10.1016/j.ejogrb.2005.11.036.

7 Wang, A. C., Lee, L. Y., Lin, C. T., & Chen, J. R. (2004). A histologic and immunohistochemical analysis of
defective vaginal healing after continence taping procedures: a prospective case-controlled pilot study. Am
J Obstet Gynecol, 191(6), 1868-1874. doi: 10.1016/j.ajog.2004.09.017.

® Visco, A. G., Weidner, A. C., Barber, M. D., Myers, E. R., Cundiff, G. W., Bump, R. C., & Addison, W. A.
(2001). Vaginal mesh erosion after abdominal sacral colpopexy. Am J Obstet Gynecol, 184(3), 297-302. doi:

10.1067/mob.2001.109654.
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close to the anus, and known to be incapable of sterilization) represents a serious flaw in
the design of Ethicon’s mesh devices.

2. Polypropylene becomes rigid when placed in the vagina - an organ that needs
to remain flexible and compliant to function. This phenomenon leads to

complications not seen with traditional pelvic surgery.

The pelvic floor is a dynamic trampoline of resilient muscles and connective tissue
structures. It needs to be supple, flexible, and springy. The muscles and loose connective
tissue are critical for normal pelvic support. They must contract to maintain pelvic support
for continence. They must relax to permit voluntary urination and to initiate the act of
defecation. In the female, the pelvic floor must relax and lengthen enormously to allow
the passage of a full-term fetus during childbirth, yet it must contract again after delivery
to permit all of the normal functions to be maintained. It must accommodate movement
and forces associated with activities of daily living, such as coughing, walking, exercise,
bladder filling, defecation, and sexual relations. Scar plate and mesh stiffness are
incompatible with the natural functioning of the vagina.

Mesh embrittlement, resulting in restriction of movement of the abdominal wall,
has been recognized in hernia repairs for some time. In 2001, Junge and Klinge used fresh
cadavers to test the elasticity of abdominal wall mesh. The authors reported that the
implantation of mesh “leads to considerable restriction of abdominal wail mobility in up
to 25% of cases. Rigidity and discomfort, especially at the edge of the mesh, are frequent
reported complaints.” Junge stated that tensile strength and flexibility must be taken into
account in the “complex interactions of the anatomic structures” where the mesh is
placed. Inadequate pore size and geometry result in increased shrinkage and scar
reaction. Junge found most of the meshes he tested to be “inappropriately stiff” and
these turned into a “hard sheet in the post-implantation period.”9

“The mechanism of action of a permanent prosthetic mesh is to incite an intense
fibroplastic foreign body response, resulting in the development of a strong scar plate
interface. Although this may provide a strong and durable repair, the chronic
inflammatory response to the mesh may also lead to chronic pain in some patients, a
sensation of being able to feel the mesh, and stiffness of the abdominal wall with loss of
compliance.”!° In addition to stiffness from scarring and fibrosis, degradation of the

polymer itself results in stiffening.“

9 Junge, K., Rosch, R., Klinge, U., Schwab, R., Peiper, C., Binnebosel, M., .. . Schumpelick, V. (2006). Risk
factors related to recurrence in inguinal hernia repair: a retrospective analysis. Hernia, 10(4), 309-315. doi:

10.1007/s10029-006-0096-0.
1° Bellows, C. F., Shadduck, P. P., Helton, W. S., & Fitzgibbons, R. J. (2011). The design of an industry-

sponsored randomized controlled trial to compare synthetic mesh versus biologic mesh for inguinal hernia
repair. Hernia, 15:325-332. doi: 10.1007/s10029-010-0773-x.

11 Costello CR, Bachman SL, Ramshaw BJ, Grant SA. Materials characterization of explanted polypropylene
hernia meshes. Journal of biomedical materials research Part B, Applied biomaterials. 2007;83(1):44-9; C.R.

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The loss of vaginal compliance and function from hardened mesh is something |
commonly see in my practice. Mesh, when surgically removed, does not look or feel
anything like it does in the package.

In my opinion, placing polypropylene mesh (known to become rigid and restrictive
of motion) in the vagina (known to require flexibility and compliance for proper function)
represents a serious flaw in the design of Ethicon’s vaginal mesh devices.

3. Degradation, chronic inflammation, and possible toxicity create unknown
long-term effects in a woman’s vagina.

A chronic inflammatory and foreign body reaction to transvaginally placed mesh
occurs in all patients.1? Additionally, Polypropylene was known to degrade in the human
body as early as 198677. This was reported again by Coda and Bendavid in 20034 and
frequently since that time. Degradation and mesh surface changes contribute to the
inflammatory response and scar plate formation by harboring bacteria, releasing toxins,
and creating a jagged surface. In a 2007 study of explanted polypropylene hernia mesh,
Costello et al. reported cracks, surface roughness, and peeling — all indicative of
degradation. The authors also recognized reduced compliance. “These findings
correspond to increased abdominal wall stiffness and patient complaints of pain and
restricted mobility. During the implantation period, the surface of the explanted materials
stimulated the foreign body response that, in turn, produced oxidants such as hydrogen
peroxide and hypochlorous acid.”

Costello SLB, S.A. Grant, D.S. Cleveland, T.S. Loy and B.J. Ramshaw. Characterization of Heavyweight and
Lightweight Polypropylene Prosthetic Mesh Explants From a Single Patient. Surgical Innovation.
2007 ;14(3):168-76.; Fayolle B, Audouin L, Verdu J. Oxidation induced embrittlement in polypropylene - a
tensile testing study. Polymer Degradation and Stability. 2000;70(2000):333-40; Fayolle B, Audouin L, Verdu
J. Initial steps and embrittlement in the thermal oxidation of stabilised polypropylene films. Polymer
Degradation and Stability. 2002;75:123-9; Fayolle B, Audouin L, George GA, Verdu J. Macroscopic
heterogeneity in stabilized polypropylene thermal oxidation. Polymer Degradation and Stability.
2002;77:515-22; Liebert TC, Chartoff RP, Cosgrove SL, McCuskey RS. Subcutaneous implants of
polypropylene filaments. Journal of biomedical materials research. 1976;10(6):939-51; Anderson JM,
Rodriguez A, Chang DT. Foreign body reaction to biomaterials. Seminars in immunology. 2008;20(2):86-100.

12 takovlev V., C. E., Steege J (2014). "Pathology of Explanted Transvaginal Meshes." international Journal of
Medical, Health, Pharmaceutical and Biomedical Engineering 8(9).

3 Jongebloed, W. L., & Worst, J. F. Degradation of polypropylene in the human eye: a SEM-study.
Documenta Ophthalmologica. Advances In Ophthalmology,1986: 64(1), 143-152.

4 Coda, A., Bendavid, R., Botto-Micca, F., Bossotti, M., & Bona, A (2003). Structural alterations of prosthetic
meshes in humans. Hernia: The Journal Of Hernias And Abdominal Wall Surgery, 7(1), 29-34

15 Costello, C. R., Bachman, S. L., Grant, S. A., Cleveland, D. S., Loy, T. S., & Ramshaw, B. J. (2007).
Characterization of heavyweight and lightweight polypropylene prosthetic mesh explants from a single
patient. Surg Innov, 14(3), 168-176. doi: 10.1177/1553350607306356.

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Clave confirmed degradation in transvaginal mesh explants in 2010. Clave
questioned “the prevailing understanding of PP as inert” based on his examination of 100
explants. In Clave’s work, “not all types of PP implants degraded equally. The PP implants
degraded more in the presence of an acute infection or chronic inflammation.” Clave
considered several hypotheses for this degradation, including large detachments and
hematomas causing the massive accumulation of blood-derived fatty acids, the diffusion
of organic molecules into the polymer, and radical oxidation due to the septic
environment that accompanies acute infections and chronic inflammation. Several
recent studies have confirmed degradation in explanted vaginal mesh.1”

In my opinion, placing a material that degrades, releases potentially toxic
chemicals, and creates a chronic inflammatory response, is a flaw in the design of
Ethicon’s vaginal mesh devices.

4. Ethicon’s transvaginal mesh devices demonstrate a variable and unpredictable
rate of shrinkage and retraction, rendering performance thatis unreliable at best.

In 1998, Klinge and Klosterhalfen reported a 30-50% shrinkage rate with
polypropylene mesh.** In practice, surgeons knew for even longer that a mesh piece must
be cut significantly larger than the defect to avoid failure at the edges, indicating concern
for shrinkage and puckering. Tunn confirmed shrinkage using ultrasound evaluation of
transvaginal mesh in 2007.79 Jacquetin and Cosson linked mesh retraction with vaginal
tenderness, painful intercourse, pain, sometimes permanent, and possibly urinary

dysfunction.2°

Because of shrinkage and retraction, there is no way to place synthetic mesh in a
“tension-free” manner and it is impossible to know how much tension will eventually

46 Clave, A., Yahi, H., Hammou, J. C., Montanari, S., Gounon, P., & Clave, H. (2010). Polypropylene as a
reinforcement in pelvic surgery is not inert: comparative analysis of 100 explants. Int Urogynecol J, 21(3),
261-270. doi: 10.1007/s00192-009-1021-8.

17 lakoviev V. MG, Blaivas J. Pathological Findings of Transvaginal Polypropylene Slings Explanted for Late
Complications: Mesh is Not Inert [Abstract]. International Continence Society Meeting Annual Meeting.
2014; lakovlev V., C. E., Steege J (2014). "Pathology of Explanted Transvaginal Meshes." International
Journal of Medical, Health, Pharmaceutical and Biomedical Engineering 8(9); lakoviev, V., Guelcher, S.,
Bendavid, R. (2014). "In vivo degradation of surgical polypropylene meshes: A finding overlooked for
decades.” Virchows Arch Suppl 1: $35; Tzartzeva K, L. D., Baniasadi M, Minary-Jolandan M, Zimmern P
(2014). "In-Depth Nan-Investigation of Vaginal Mesh and Tape Fiber Explants in Women [Abstract]." [CS
366.

18 Klinge, U., Klosterhalfen, B., Muller, M., Ottinger, A. P., & Schumpelick, V. (1998). Shrinking of
polypropylene mesh in vivo: an experimental study in dogs. Eur J Surg, 164(12), 965-969. doi:
10.1080/110241598750005156. :

12 Tunn, R., Picot, A., Marschke, J., & Gauruder-Burmester, A. (2007). Sonomorphological evaluation of
polypropylene mesh implants after vaginal mesh repair in women with cystocele or rectocele. Ultrasound
Obstet Gynecol, 29(4), 449-452. doi:10.1002/uo0g.3962.

20 Jacquetin, B., & Cosson, M. (2009). Complications of vaginal mesh: our experience. Int Urogynecol J Pelvic
Floor Dysfunct, 20(8), 893-896. doi: 10.1007/s00192-009-0926-6.

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result. The degree of shrinkage is unpredictable and varies from one individual to the next
— some women are high responders and others are low responders to biomaterials,
including polypropylene. The amount of shrinkage has also been shown to vary based on
the location in which it is placed (between the peritoneum and muscle or above the
fascia).2* Shrinkage is magnified with infection, even subclinical contamination, which has
been found to occur in almost all transvaginally placed meshes.?2 Letouzey showed
polypropylene mesh contraction to be progressive, demonstrating a linear evolution with
time. Ultrasound reconstruction “showed a mean contraction of 30%, 65%, 85% at a mean
follow up of 3 years (n 5 12), 6 years (n 5 16), 8 years (n 5 12) respectively.”7?

Chronic pelvic pain is the most common clinical symptom associated with mesh
shrinkage. “The concurrent processes of tissue in growth and mesh shrinkage may cause
significant pain, particularly in patients who undergo trocar-guided mesh placement.
Adherence of the mesh arms in the lateral pelvic wall is a point against which tension
increases during the processes of tissue in growth and mesh shrinkage.” Other
complications related to shrinkage and not warned about by Bard include sexual
impairment, loss of vaginal function due to narrowing/shortening, functional bladder and
bowel symptoms, and need for multiple, difficult corrective procedures.?* Chronic pain
from mesh distortion and shrinkage is something | commonly see in my practice.

In a study by Margulies, “[t]he repercussions of mesh shrinkage in the vagina vs
the abdominal wall can be severe and functionally devastating. Normal urinary, sexual,
and defecatory functions require a vagina that is compliant and whose walls can easily
and painlessly change conformation. With excessive stiffness of the vaginal walls
secondary to mesh that has undergone shrinkage, it is possible that dyspareunia,
defecatory, and urinary dysfunction could result.” The conditions described in this article
are something | commonly see in my practice.

An example of a clinical study exhibiting the defects in armed transvaginal mesh

was published by Feiner and Maher in 2010, based on a series of patients seen in 2007-

2008. This paper described the “substantial morbidity” associated with “vaginal mesh

contraction”. “Clinical presentation included severe vaginal pain aggravated by
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1 Garcia-Urena, M. A., Vega Ruiz, V., Diaz Godoy, A., Baez Perea, J. M., Marin Gomez, L. M., Carnero
Hernandez, F. J., & Velasco Garcia, M. A. (2007). Differences in polypropylene shrinkage depending on mesh
position in an experimental study. Am J Surg, 193(4), 538-542. doi: 10.1016/j.amjsurg.2006.06.045

22 Mamy, L., Letouzey, V., Lavigne, J. P., Garric, X., Gondry, J., Mares, P., & de Tayrac, R. (2011). Correlation
between shrinkage and infection of implanted synthetic meshes using an animal model of mesh infection.
Int Urogynecol J, 22(1), 47-52. doi: 10.1007/s00192-010-1245-7.

23 | etouzey, V., Huberlant, S., Lavigne, J., Mares, P., Garric, X. & De Tayrac, R. (2012). Is polypropylene mesh
coated with antibiotics is efficient to prevent mesh infection and contraction in an animal infectious model?
[Abstract]. 37th Annual Meeting of the International Urogynecological Association, 193.

24 Rogo-Gupta, L., & Raz, S. (2013). Pain Complications of Mesh Surgery. In H. B. Goldman (Ed.),
Complications of Female Incontinence and Pelvic Reconstructive Surgery (pp. 87-105): Humana Press.

25 Margulies, R. U., Lewicky-Gaupp, C., Fenner, D. E., McGuire, E. J., Clemens, J. Q., & Delancey, J. O. (2008).
Complications requiring reoperation following vaginal mesh kit procedures for prolapse. Am J Obstet
Gynecol, 199(6), 678 e671-674. doi: 10.1016/j.ajog.2008.07.049.

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movement (17 of 17), dyspareunia in all sexually active women (14 of 14), and focal
tenderness over contracted portions of the mesh on vaginal examination (17 of 17),
commonly involving the lateral fixation arms. Mesh erosion (9 of 17), vaginal tightness (7
of 17), and shortening (5 of 17) were frequently present.” This paper set out to describe
the clinical implications of the in vivo shrinkage of polypropylene mesh up to 50% if its
original size that had been previously described both in animal studies and women.”®
Vaginal contraction from mesh procedures is something | commonly see in my practice.

© Francis, Feiner & Maher

Feiner, Benjamin; Maher, Christopher: Obstetrics & Gynecology. 115(2, Part 1): 325-330,
February 2010.

In my opinion, using a material that shrinks and retracts significantly, but in a
variable and asymmetric fashion, is a flaw in design.

5. Ethicon’s transvaginal mesh devices damage and entrap nerves, sometimes
resulting in chronic and permanent pain syndromes that are refractory to

treatment.

Unlike routine postoperative pain that is typically self-limiting, mesh-related pain
is often atypical in character, onset, duration, and location. Neuropathic pain associated
with mesh is something | see commonly in my practice and can be very difficult to treat.

Nerve injuries occur commonly with transvaginally placed mesh. The trocars,

26 Feiner, B., & Maher, C. (2010). Vaginal mesh contraction: definition, clinical presentation, and
management. Obstet Gynecol, 115(2 Pt 1), 325-330. doi: 10.1097/A0G.0b013e3181cbca4d.

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blindly placed, traverse through tissue densely innervated with large nerves and smaller
nerve branches. Nerves can be traumatized during the procedure itself. Postoperative
nerve injuries have been reported to occur at a rate of 9.4% with transobturator slings.?”

Nerve damage can also result from nerve inflammation and nerve entrapment
resulting from the chronic inflammatory response and fibrosis surrounding the mesh. The
nerves most commonly involved with a transobturator sling are the intermediate femoral
cutaneous, posterior cutaneous, pudendal, perineal, inferior anal, and the obturator
nerves. The ilioinguinal and iliohypogastric nerves are more commonly involved with the

retropubic approach.

In a 2005 Klosterhalfen post-retrieval study of hernia mesh, most explants from
all the patients with chronic pain in their medical history indicate nerve fibers and fascicles
in the interface of the mesh. Klosterhalfen further stated that “clinical trials report high
percentages of patients with chronic pain after hernia repair, including mesh repair. In
contrast to neuropathy-related complaints after intraoperative damage of nerve fibers
with pain immediately after surgery, the onset of chronic pain as a consequence of the
FBR [foreign body reaction] is typically more than 1 year after hernia repair. In the
postretrieval study, most explants from all the patients with chronic pain in their medical
history, indicate nerve fibers and fascicles in the interface of the mesh.”2°

Drs. lakovlev and Ben-David recently published an article in the peer-reviewed
literature titled, “Mesh-Related SIN Syndrome. A Surreptitious Irreversible Neuralgia and
Its Morphologic Background in the Etiology of Post-Herniorrhaphy Pain”. This paper
describes nerve ingrowth with hernia mesh and reports a new mesh-related pain disorder
characterized by its slow onset, its progressive and unrelenting nature, and its
unresponsiveness to treatment including mesh removal.2? Drs. lakovlev and Blaivas have
also published their findings of nerve damage in vaginal mesh — occurring with a much
greater density than the abdominal wall. These published reports of explanted mesh
pathology also describe chronic inflammation, scarring and fibrosis, deformation, and

degradation.*°

27 Richter, H. E., Albo, M. E., Zyczynski, H. M., Kenton, K., Norton, P. A., Sirls, L.T., Litman, H. J. (2010).
Retropubic versus transobturator midurethral slings for stress incontinence. N Engl J Med, 362(22), 2066-
2076. doi: 10.1056/NEJMoa09 12658.

28 Klosterhalfen, B., Junge, K., & Klinge, U. (2005). The lightweight and large porous mesh concept for
hernia repair. Expert Rev Med Devices, 2(1), 103-117. doi:10.1586/17434440.2.1.10.

29 Bendavid, R., Lou, W., Koch, A., Iakovlev, V. (2014). "Mesh-Related SIN Syndrome. A Surreptitious
Irreversible Neuralgia and Its Morphologic Background in the Etiology of Post-Herniorrhaphy Pain."
International Journal of Clinical Medicine 5: 799-810.

30 Takovlev V., M. G., Blaivas J. (2014). "Pathological Findings of Transvaginal Polypropylene Slings
Explanted for Late Complications: Mesh is Not Inert [Abstract]." International Continence Society Meeting

Annual Meeting.

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Histological findings in transvaginal mesh:

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rf : Ops 2 RM Mh elie Figure 1. a:
Nerve ingrowth. 2.5x objective, S100 stain to highlight nerves (dark brown, some nerves pointed by arrows). Mesh filaments are
filled yellow for demonstration. b: Foreign body and non-specific chronic inflammation. H&E stain, 20x objective, three filaments
filled yellow, one left unfilled (MF), inflammation pointed by arrows. c: Polypropylene degradation. 40x objective, partially polarized
light. The bark of degraded polypropylene surrounds the central core {in the picture the core detached and folded). Bath, the core
and the bark show the same polarizing properties (brightly ii). The bark absorbs histological dyes due to it porosity and stains
purple while the core remains clear (MF filament left clear in pane! “b”).

Rogo-Gupta stressed the importance of a thorough understanding of pelvic
anatomy in evaluating complex mesh pain.?4 Mesh can become incorporated into
muscles, resulting in fibrosis, restriction and pain with movement. Muscular injury with
armed mesh may cause severe pain with walking or joint movement. Patients who
undergo posterior compartment mesh repair with trocar-guided lateral mesh arms may
experience pain in the levator muscles or gluteus maximus. Gluteus maximus innervation
is provided by the inferior gluteal nerve ($1). Patients may present with pain exacerbated
by sitting, external hip rotation, and hip extension. Injury to the external anal sphincter
muscles may cause pain or defecatory dysfunction including constipation or incontinence
of flatus or stool. Intraoperative nerve damage presents immediately following the
procedure. Sharp pain in a specific nerve distribution presenting in the immediate
postoperative period suggests intraoperative nerve damage and should be treated.

“Nerve pain that presents in the postoperative period and persists into the
delayed postoperative period should be considered an example of mesh pain and trigger
evaluation for other etiologies as well. This includes nerve entrapment and the pelvic
organ cross-talk or sensitization. Posterior compartment repair may cause injury to the
lumbosacral plexus, sciatic nerve, or pudendal nerve.”?2

Chronic mesh pain syndrome (CMPS) is reported in the medical literature and
refers to a complex condition that develops in some patients with pain following mesh
reconstruction. This pain persists beyond the routine postoperative period and is
characterized by its intensity. It is also refractory to medical and surgical treatment.
Regional and systemic symptoms develop as a result of nerve up-regulation, cross-talk
and central sensitization. CMPS is a pathologic condition caused by the transformation of

31 Rogo-Gupta (2013).
32 Rogo-Gupta (2013).

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local vaginal pain into a multiorgan systemic process.??

The potential for serious pain conditions resulting from the transvaginal mesh
should have been apparent from the experience of hernia mesh in the abdominal wall
and elsewhere in the body. Chronic pain is the most serious long-term complication that
can occur after repair of groin hernia. The incidence of chronic pain after herniorrhaphy
has been reported to be 30% or even higher. The complaint of chronic pain after inguinal
hernia repair continues for months or even years. The development of chronic pain has
been attributed to several mechanisms, including damage to sensory nerves and mesh

inguinodynia.

In my opinion a medical device that injures and entraps nerves and muscle,
sometimes resulting in chronic, severe, and intractable pain conditions, is flawed.

6. Because of the unique design of the pelvic organ system, Ethicon’s
transvaginal mesh devices can result in bowel problems, bladder problems,

and sexual dysfunction.

The vagina is a dynamic organ that must respond to motion and dynamic changes
in adjacent organs (bowel and bladder) and with sexual relations. The space is shared and
confined between all the pelvic organs and they need to move in relation to one another.

If nerves and muscles are present and are functioning properly, the pelvic floor is
a versatile dynamic structure with the possibility of fine regulation of muscle activity. The
innervation of the lower urinary tract is complex and includes sensory and motor
functions as well as somatic and autonomic systems. The urethra is like the mouth or the
larynx, innervated by the right and left. Motor neurons and muscle fibers are arranged in
independent functional units called motor units, and a limited number of motor units are
responsible for muscle control. The greater the number of motor nerurons to the urinary
sphincter, the greater the number of motor units, and the more versatile the range of
possible muscle activity. Conversely, the lesser the number of motor neurons, the less
versatile or more clumsy the possible range of sphincter activity. Patients with neurologic
deficits in the pelvis may demonstrate irritative bladder symptoms and variable degrees
of voiding difficulty and dysfunction.

Anorectal and bowel problems, likewise, are mediated by a complex arrangement
of nerves and muscles in the pelvis. The normal act of defecation is easy and complete.
The bowel should function with the effortless displacement of the stool from the lower
bowel. After normal defecation, the sigmoid colon and rectum are empty and the stool is
gone. If there is impairment of the nerves and muscles of the lower bowel, the function
is more likely to be incomplete, and instead of the train leaving the station, only one or
two cars might leave, but the bulk of the train continues to stand. The rectum and sigmoid

53 Rogo-Gupta (2013).
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colon remain loaded with stool most of the time. Constipation, diarrhea, irritable bowel
symptoms, and pain can be associated with the loss of versatile sphincter and pelvic floor

function.

Shared nerves means shared behaviors, and Kaplan et al. described this
phenomenon as “crosstalk”, the functional relationship between bladder and bowel. “The
connection between bladder and bowel function is apparent in several clinical disorders,
including chronic pelvic pain syndromes, urinary and faecal incontinence, organic diseases
involving the colon, functional bowel disorders and OAB.”*4

In my opinion, a device designed for treatment of SUI or POP that invites
widespread bladder, bowel and sexual dysfunction is flawed.

7. A permanent device that cannot be removed when complications dictate is
unacceptable.

The medical literature contains numerous reports describing the difficulties and
less than satisfactory outcomes associated with mesh removal. Those of us who are
performing these surgeries on a regular basis know all too well the challenges of explant
surgery. Putting mesh in is relatively easy. Taking it out is another matter. These surgeries
are time-consuming, complicated, and risky for the patient. We never know what we will
encounter until we get to the operating room. The anatomy is often distorted and healthy
tissue often has to be removed along with the mesh. In many instances, it is impossible
to remove the entire device. We are always concerned about the possibility of doing more
harm than good. This is an entirely different situation from the treatment of any other

surgical complication.

Rogo-Gupta described the technically challenging removal of armed mesh. “To
successfully remove armed mesh segments in their entirety, the obturator membrane
must be perforated and dissection carried out laterally. Additional incisions in the thighs
may be required to adequately free the arms from the surrounding soft tissues. We
suggest preoperatively marking the lateral puncture sites to facilitate intraoperative
dissection. If the lateral incisions cannot be identified by patient symptoms or scarring,
gentle traction on the medial portion of the mesh arms may be used as a guide. The mesh
should be followed from skin incision to the intersection of the adductor muscles and
dissected free in a circumferential fashion. Muscle fibers often must be dissected when
mesh has become incorporated into the surrounding fibers. Large defects in the vaginal
wall may occur with mesh removal and surgeons ought to be prepared to utilize rotational
vaginal flaps, labial flaps, or skip flaps for reconstruction. Following complete healing and
resolution of other symptoms such as pain, infection, bleeding, urinary or defecatory

54 Kaplan, S. A., Dmochowski, R., Cash, B. D., Kopp, Z. S., Berriman, S. J., & Khullar, V. (2013). Systematic
review of the relationship between bladder and bowel function: implications for patient management. Int
J Clin Pract, 67(3), 205-216. doi: 10.1111/ijcp.12028

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dysfunction, evaluation for additional surgery for persistent incontinence or prolapse can
begin if clinically indicated.”?5

Reynolds et al. reported a series of patients in which obturator dissection was
performed via a lateral groin incision over the inferior pubic ramus at the level of the
obturator foramen, typically in conjunction with orthopedic surgery. All the patients in
the series presented with “recalcitrant and devastating” groin pain after a transobturator
sling procedure (5% to 16% of patients). According to the authors, “Groin pain after
transobturator procedures is believed to be related to obturator nerve damage or
entrapment and to resulting neuropathy. In addition, it may be nonneural in origin, and
related to tension between the mesh material and adductor tissues.” In transobturator
procedures, the “trocar and mesh penetrate several muscles and structures of the inner
thigh and pelvis, including (in order from external to internal) the gracilis muscle,
adductor brevis muscle, obturator externus muscle, obturator membrane, obturator
internus muscle and periurethral endopelvic connective tissue.” Intraoperatively, the
mesh was typically “closely associated to or traversing the adductor longus muscle and
tendon insertion with significant fibrous reaction in all cases, and in 1 case the mesh was
intimately associated with the obturator neurovascular bundle.” The authors noted the
dispute over the best timing for removal of a sling when pain develops postoperatively,
an issue should have been resolved before marketing a device.*°

Barber reported that the rate of requiring additional surgery for mesh
complications is almost 50% in some series and seems to be higher in those undergoing
partial excision at the initial operation. Recurrent pelvic organ prolapse was noted in 29%
after complete excision and 5% of partial excisions. Dr. Barber described the removal of
mesh for vaginal contraction, pain and dyspareunia, “If tenderness is focal and associated
with a clearly defined contraction band, typically a lateral mesh arm, then transection of
the contraction band without excision of the remaining mesh may provide adequate pain
relief. If the tenderness is not localized or if release of the contraction band is not
successful, then complete excision of the intravaginal portion of the mesh should be
performed. This is done using the same technique as described previously for vaginal
mesh exposure. The mesh arms should be transected as lateral as possible and all

contraction bands released.”2”

Blandon also detailed the challenges of removal surgery. “The vaginal surgeon is
faced with the challenges of very complex surgical dissections. If mesh excision is
warranted, tissue fibrosis, scarring, bleeding, and urinary tract and anorectal injury are
easily encountered, which add to patient morbidity...Moreover, whereas minor

35 Rogo-Gupta, 2013.
36 Reynolds, W. S., Kit, L.C., Kaufman, M. R., Karram, M., Bales, G. T., & Dmochowski, R. R. (2012). Obturator
foramen dissection for excision of symptomatic transobturator mesh. J Urol, 187(5), 1680-1684. doi:

10.1016/j.juro.2011.12.065.
37 Barber, M. D. (2013). Surgical techniques for removing problematic mesh. Clin Obstet Gynecol, 56(2),

289-302. doi: 10.1097/GRF.0b013e3182856371.
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complications such as small vaginal mesh erosions are simple and easy to manage,
incapacitating pelvic pain, dyspareunia, and large-scale erosions can be exceedingly
complex and not easily resolved.”**

Crosby et al. at the University of Michigan, Ann Arbor, recently reported a 10-fold
rise in the number of vaginal mesh removals in the past five years. The authors found that
removal of vaginal mesh was helpful in relieving presenting symptoms, but complete
resolution of symptoms, especially pain or dyspareunia, occurs in less than half of patients
following excision.3?*° Hartshorn also reported on mesh complications as an increasingly
common indication for referral to tertiary care centers.*4 Pain resulting in deterioration
of sexual function is a common symptom that is often managed by surgical removal of
mesh. Based on this sample, surgical removal of mesh does not appear to improve pain
related to sexual activity or overall sexual function. This has significance in the
preoperative counseling of patients who are candidates for removal of transvaginal mesh.

My experience confirms the difficulty and often impossibility of removing the
entire mesh product. Because of the location of mesh devices, tissue ingrowth,
inflammation, and scar plate, removal surgery is often risky and complex. In most
instances, remnants of mesh or mesh fibers are left behind. Multiple procedures may be
required and results are often less than optimal, particularly when the mesh devices are

removed for pain.

8. A literature review of transvaginally placed surgical meshes raises serious
concerns about the safety and efficacy of these products for prolapse repair.

A product may be defective if the risks do not outweigh the benefits or is “not
reasonably safe.” Mesh kits for pelvic organ prolapse and SUI offer no benefits over
traditional repairs.

The initial studies on efficacy of POP mesh kits seemed to demonstrate an
anatomic improvement in the anterior compartment. These studies can now all be
discredited for various reasons. There were never any benefits identified in the apical or
posterior compartment, any reduction in reoperations for recurrent prolapse, or any
improvement in Quality of Life measurements. In the past couple of years, several papers

88 Blandon, R. E., Gebhart, J. B., Trabuco, E. C., & Klingele, C. J. (2009). Complications from vaginally placed
mesh in pelvic reconstructive surgery. Int Urogynecol J Pelvic Floor Dysfunct, 20(5), 523-531. doi:
10.1007/s00192-009-0818-9.

°° Crosby, E. C., Berger, M. B. DeLancey, I.L., Fenner, D.E. & Morgan, D. M. (2012). Symptom resolution after
operative management of complications from vaginal mesh. Female Pelvic Medicine & Reconstructive
Surgery, 18 (5), 2.

4° Crosby, E.C., Abernethy, M., Berger, M.B., DeLancey, J.O., Fenner, D.E., Morgan, D.M. (2014). Symptom
Resolution After Operative Management of Complications From Transvaginal Mesh. Obstet Gynecol,

123(1), 134-139.
41 Hartshorn, T.G., Rogo-Gupta, L., Tarvay, C.M., Rodriguez, L.V. & Raz, S. (2012). Sexual function after

surgical removal of transvaginal mesh. AUGS, Poster Presentation 35.

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have re-looked at the efficacy of native tissue repairs as compared to TVM procedures
and found no improvements in efficacy.

The double-blinded randomized controlled trial initiated by Iglesia was halted
because of excessive erosion, recently reported 3-year data on efficacy. Sokol and the
other authors found cure rates and satisfaction after prolapse repair with and without
mesh were high based on absence of prolapse beyond the hymen, lack of bulging
symptoms and global impression of improvement (PGI-I).42 This study draws into question
the long-term value of vaginal mesh compared to native tissue repairs. Subjects in the
mesh group suffered complications unique to vaginal mesh without long-term benefit as
there was no perceived difference in success.

Stanford reviewed the literature on the success of traditional/native tissue success
versus mesh-augmented repairs and found the “overall success rates of NT and MA
repairs when recurrent prolapse is the primary outcome measure are very similar.”*?
Oversand also found POP surgery using native tissue repair entails low reoperation rates
with excellent subjective and objective results, few complications and should be the first
choice in treating primary POP.“ Funk and Visco analyzed 27,809 prolapse surgeries from
an insurance database. The authors “found evidence that the use of mesh for anterior
vaginal wall prolapse was associated with an increased risk of any repeat surgery, which
was driven by surgery for mesh removal. Vaginal mesh and native tissue repair for
anterior prolapse had similar 5-year risks for recurrent prolapse.”*°

| have reviewed the reliable scientific literature regarding the use of transvaginal
mesh for prolapse repair. From these studies (and confirmed by my clinical experience), |
have made the following conclusions regarding the efficacy of these products:

1. There is no good evidence supporting benefit in quality of life (QOL) or
relief of symptoms in any compartment with the use of trans-vaginal mesh
for the treatment of POP.

2. A recent study of 27,809 anterior prolapse surgeries with 49,658 person-
years of follow-up determined that native tissue and vaginal mesh surgery
had similar 5-year risks for surgery for recurrent prolapse.*®

* Iglesia, C. B., Sokol, A. ., Sokol, E. R., Kudish, B. 1., Gutman, R. E., Peterson, J. L., & Shott, S. (2010). Vaginal
mesh for prolapse: a randomized controlled trial. Obstet Gynecol, 116(2 Pt 1), 293-303. doi:
10.1097/A0G.0b013e3181e7d7f8.

43 Stanford, E. J., Cassidenti, A., & Moen, M. D. (2012). Traditional native tissue versus mesh-augmented
pelvic organ prolapse repairs: providing an accurate interpretation of current literature. Int Urogynecol J,
23(1), 19-28. doi: 10.1007/s00192-011-1584.

 Oversand, S. H., Staff, A. C., Spydslaug, A. E., Svenningsen, R., & Borstad, E. (2013). Long-term follow-up
after native tissue repair for pelvic organ prolapse. Int Urogynecol J. doi: 10.1007/s00192-013- 2166-z

45 Eunk, M. J., Edenfield, A. L., Pate, V. & Visco, A. G. Trends in mesh use between vaginal prolapse repair
and sacrocolpopexy, 2005-2010. Female Pelvic Medicine & Reconstructive Surgery, 18 (5), 2.

46 Funk, M. J., Levin, P. J., & Wu, J. M. (2012). Trends in the surgical management of stress urinary
incontinence. Obstet Gynecol, 119(4), 845-851.

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There is no reduction in reoperation rates for prolapse in any compartment
with the use of trans-vaginal mesh for the treatment of pelvic organ
prolapse.

There is no evidence of anatomic benefit with the use of trans-vaginal
mesh for the treatment of POP in the posterior or apical compartments.
There are studies that suggest anatomic benefit in the anterior
compartment only, but this finding has limited, if any, clinical

significance. Other studies show no anatomic benefit.

Recent studies indicate that the anatomic benefits (anterior compartment
only) suggested in earlier trials are unfounded and the result of bias.

The total number of reoperations is higher in mesh repairs due to the rate
of surgeries for repair of complications.

| have made the following conclusions regarding the safety of these products from
my review of the scientific literature:

P

| have

Adverse events and complications are common.

Many of these complications do not occur with traditional prolapse

repairs.

Many of these complications are life-altering and permanent, unlike those
seen with traditional prolapse repairs.

Many of these complications require additional surgery which may or may

not alleviate the symptoms - unlike traditional prolapse repairs.

The study noted above with 27,809 anterior prolapse surgeries with

49,658 person-years of follow-up determined that the use of mesh for

anterior prolapse was associated with an increased risk of any repeat

surgery, which was driven by surgery for mesh removal.*”

These complications can occur at any time, unlike complications occurring

with traditional prolapse repairs.

Explant surgery, when indicated, is risky, difficult to perform, and may or

may not alleviate symptoms.

concluded the following regarding the differences regarding the mesh

complications and those associated with traditional surgery:

Many of the complications reported occur only with mesh. These include
erosion and extrusion, mesh contraction syndrome, organ perforation
from mesh, partner injury, severe vaginal pain, granulomas, and need for
multiple surgical procedures for removal and attempted relief of pain.

Mesh complications, as opposed to complications with traditional repairs,
are likely to be more frequent and more severe. Examples include
dyspareunia, de novo stress urinary incontinence, chronic pelvic pain,

47 Funk, 2012.

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neuromuscular injury, and emotional sequelae.
3. Most mesh complications are more difficult to treat. This includes fistulae,

bleeding, infection, bowel/bladder injuries, dyspareunia, pelvic pain, and
recurrent prolapse.

4. The potential for complications lasts indefinitely because the synthetic
mesh is permanent.

5. Some risks are still unknown and cannot be known for many years to
come.

Similar literature is available for SUI. Synthetic slings are no more effective than
traditional Burch procedure or autologous slings and create unique and, sometimes
severe complications. “* For example, in a randomized controlled trial by Amaro,
satisfaction rates were 62.5 to 97.5% in AFS group, while in TVT group it was between 36
to 80%. In this study, AFS and TVT yielded similar results, except for operating time which
was shorter in TVT*?. Chapple recommended that when a patient has made the decision
to proceed with surgery, alternative surgical options that include non—mesh-based
techniques should be offered, such as an autologous fascial sling or bladder neck

suspension.*°

In arecent review article published in Nature, one of the most prestigious journals
in the world, Blaivas described the complications associated with synthetic mesh slings.
The most common risks in patientsstewith SMUS include urethral obstruction requiring
surgery (2.3% of patients with SMUS), vaginal, bladder and/steor urethral erosion
requiring surgery (1.8%) and refractory chronic pain (4.1%). At least one third of patients

48 e.g. Albo ME, Richter HE, Brubaker L, Norton P, Kraus S, et. al.; Burch colposuspension versus fascial sling
to reduce urinary stress incontinence; New England Journal of Medicine 2007;356:2143-2155; Amaro, J. L.,
Yamamoto, H., Kawano, P. R., Barros, G., Gameiro, M. O. O., & Agostinho, A. D. (2009). Clinical and quality-
of-life outcomes after autologous fascial sling and tension- free vaginal tape: a prospective randomized trial.
Int Braz J Urol, 35:60-67; Birch, C., & Fynes, M. M. (2002). The role of synthetic and biological prostheses in
istetreconstructive pelvic floor surgery. Curr Opin Obstet Gynecol, 14(5), 527-535; Blaivas, J. G., & Chaikin, D.
C. (2011). Pubovaginal fascial sling for the treatment of all types of stress urinary incontinence: surgical
technique and long-term outcome. Urol Clin North Am, 38(1), 7-15, v. doi: Blaivas, J. G., Purohit, R. S.,
Weinberger, J. M., Tsui, J. F., Chouhan, J., Sidhu, R., & Saleem, K. (2013). Salvage Surgery after Failed
Treatment of Synthetic Mesh Sling Complications. J Urol. doi: 10.1016/j.juro.2013.03.044; Brown, S. L. &
Govier, F. E. (2000). Cadaveric versus autologous fascia lata for the pubovaginal sling: surgical outcome and
patient satisfaction. The Journal of Urology, 164:1633- 1637; Broussard, A. P., Reddy, T. G., Frilot Il, C. F.,
Kubricht tll, W. S., & Gomelsky, A. (2013). Long- term follow-up of porcine dermis pubovaginal slings. Int
Urogynecol J, 24:583-587; Brubaker, L., Richter, H.E., Norton, P.A., Albo, M., Zyczynski, H.M., Chai, T.C.,
Zimmern, P., Kraus, S., Sirls, L., Kusek, J.W., Stoddard, A., Tennstedt, S., Gormley, A. (2012). 5-Year
Continence Rates, Satisfaction and Adverse Events of Burch Urethropexy and Fascial Sling Surgery for
Urinary Incontinence J Urology, 187: 1324-1330, 10.1016/j.ucl.2010.12.002.

43amaro, J.L., Yamamato, H., Kawano, P.R. Barros, G., Gameiro, M.O.0., & Agostinho, A.D. (2009). Clinical
and quality-of-life outcomes after autologous fascial sling and tension-free vaginal tape; a prospective
randomized trial. Int. Braz J. Urol, 35:60-67.

5° Chapple, C. R., Raz, S., Brubaker, L., & Zimmern, P. E. (2013). Mesh Sling in an Era of ige'Uncertainty:
Lessons Learned and the Way Forward. Eur Urol. doi: s10.1016/j.eururo.2013.06.045.

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developed recurrent SUI, based on the review. Additionally, complications are under-
reported. The authors provide and excellent discussion of the mechanisms by which
synthetic slings produce complications — all based on peer-reviewed, reliable medical

literature.5?

Both the American College of Obstetrics and Gynecology and the American
Urology Association endorse the use of autologous slings and Burch procedure.**

Recent literature is finally addressing the long-term consequences of vaginal mesh
complications and the outcomes of attempts at surgical treatment - reporting large
numbers of patients in academic medical centers like Emory. This reflects the lag time
between the appreciation of these devastating complications for those of us in a referral
practice and awareness by community physicians. These studies show a significant
number of women who fail to respond to treatment despite the best care available and
remain in worse condition than they were before having the initial operation.>? | am not
aware of any other surgical procedure that has created a “new disease” such as that we
are seeing since the introduction of trans-vaginal mesh. It has even been given a nae in
the recent literature, “Meshology.”>4

In my opinion, the risks of polypropylene mesh in vaginal prolapse and SUI repairs
outweigh the benefits.

IV. DISCUSSION OF FINDINGS AND OPINIONS REGARDING
PLAINTIFF TINA BURRIS

Brief summary of the medical records concerning Tina Burris:

Clinical Chronology

51 Blaivas, et al., Safety considerations for synthetic sling surgery, Nat. Rev. Urol. advance online publication
18 August 2015; doi:10.1038/nrurol.2015.183.

52 ACOG Practice Bulletin Number 155, November 2015; Dmochowski et al. U t least one-third of patients
undergoing sling excision surgery develop recurrent SUI. Update of AUA Guideline on the Surgical
Management of Female Stress Urinary Incontinence J Urol ol. 183, 1906-1914, May 2010

eg. Hammett, J., et al. (2014). "Short-term surgical outcomes and characteristics of patients with mesh
complications from pelvic organ prolapse and stress urinary incontinence surgery." Int Urogynecol J 25(4):
465-470; Dunn, G. E., et al. (2014). "Changed women: the long-term impact of vaginal mesh complications."
Female Pelvic Med Reconstr Surg 20(3): 131-136; Hansen, B. L., et al. (2014). "Long-term follow-up of
treatment for synthetic mesh complications." Female Pelvic Med Reconstr Surg 20(3): 126- 130; Abbott, S.,
et al. (2014), "Evaluation and management of complications from synthetic mesh after pelvic reconstructive
surgery: a multicenter study." Am J Obstet Gynecol 210(2): 163 e161-168; Unger, C A., et al. (2014).
"Outcomes following treatment for pelvic floor mesh complications.".

54 Lee et al., Meshology: a fast-growing field involving mesh and/or tape removal procedures andidptheir

outcomes, Expert Rev. Med. Devices Early online, 1-16 (2014).

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Date of Implant Surgeries: 8/05/08.

Implanting Surgeon: Dr. Desrene Kerry-Ann Brown, Bluffton Hospital

Implant Information:
@ Product 1: Gynecare Prolift

Oo PFRAO1
O LOT #: 3135683 042 LCNP150821A

e Product 2: Gynecare TVT Secur

Oo TVTS
Oo LOT #: 3118404144 LCNP200621A

Revision Surgeries and procedures:

1. 11/15/2011 - Cleveland Clinic specialists -— Dr. Walters vaginal excision of
Gynecare Prolift and laparotomy by Dr. Goldman for complications including
bladder injury, and left ureter injury, and blood loss anemia requiring blood

transfusion.

2. 6/30/15 - Dr. Maurice Chung, bilateral pudendal nerve perineuronal injection and
block for chronic pelvic pain and pudendal neuralgia.

3. 8/26/2015 - Dr. Walters — Trachelectomy with vaginal vault suspension and
Anterior and Posterior repair for “persistent chronic pelvic pain and recurrent

prolapse.”
Summary of my expert opinions, specifically with regard to Tina Burris:

1. Ms. Burris’ mesh related injuries, which include pudendal neuralgia and/or
muscle damage causing groin, leg, and vaginal pain; chronic, long term and life altering
pelvic pain; dyspareunia; and painful bladder filling syndrome are the direct result of the
defects/features/properties of the TVT-S and/or Prolift devices discussed in this report.
Alternatively, the TVT-S and Prolift devices were a cause or significant contributing factor

in causing those injuries.

2. | have reviewed the implanting surgeon’s operative report and find no
evidence of deviation from the Instructions for Use.

3. | performed a differential diagnosis and was able to rule out any other
conditions as a primary cause of Ms. Burris’ injuries.

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4. | have reviewed the relevant Instructions for Use. In my opinion, the
warnings provided in the IFUs do not provide doctors with the information needed to
make treatment choices and obtain informed consent from their patients,

5. To a reasonable degree of medical certainty, Ms. Burris’ injuries would not
have occurred with alternative surgical intervention such as the Burch procedure, native
tissue repair, or colpopexy. In addition, there were biologic materials, including
autologous grafts, allografts and xenografts that would have been safer alternatives, and
would have alleviated the complications suffered by Ms. Burris.

6. Ms. Burris’ injuries and complications are permanent, and she will require
life-time medical and non-medical services throughout her life expectancy.

Relevant medical background and treatment:

Tina Burris RM is a mother of four (G 4, P 4), who first presented to Dr.
Brown with problems of uterine fibroids. On 2/19/08, Dr. Brown performed laparoscopic
supracervical hysterectomy and bilateral ovarian cyst fulguration. In the following months
she complained of symptomatic vaginal prolapse (cystocele) and stress urinary
incontinence.

On 8/5/2008, Dr. DK Brown performed surgical repairs including - Anterior repair
with Prolift, and placement of TVT Secur. The early post-operative course was uneventful.
Urinary urge symptoms were troublesome and unresponsive to medication, and Dr.
Brown considered possible Interstim therapy.

In 2011, Ms. Burris presented to Dr. Lawrence J Kuk Jr. of Ada, Ohio with new
problems of pelvic and vaginal pain with vaginal discharge and bleeding. Symptoms
included dyspareunia, some vaginal bleeding, and some back pain. She was referred on
for specialist care to the Cleveland Clinic for assessment and management of worsening
pelvic pain after vaginal mesh. Symptoms had been present and worsening for about 6
months, after the onset of pain came vaginal discharge, then vaginal bleeding. It should
be noted that Ms. Burris did not return to Dr. Brown who had been the implanting

surgeon.

On 8/29/2011, Ms. Burris was examined by urogynecologist Dr. Mark D Walters of
the Cleveland Clinic, who documented “anterior Prolift mesh palpable with bleeding area
of granulation tissue left mid -to anterior vagina 5 cm into vagina; area somewhat tender”.
Diagnoses included recurrent Cystocele Stage Il, also mesh erosion, dyspareunia and
pelvic pain, foreign body in vagina. After discussion it was elected to schedule trans-
vaginal removal anterior Prolift mesh, cystocele repair and possible colpopexy.

On November 15, 2011 Ms. Burris returned for pre-op cystoscopy with Dr.
Walters, no mesh was seen in the bladder or urethra. The plan was to “leave the TVT

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Secur in if not eroded but remove it if exposed”. A prescription for opioid (oxycodone)
pain medication was given to help manage Ms. Burris’s pain. The medical record reflects
- “Have you had a recent problem with pain? Yes: LOCATION: lower pelvic area with
radiation to back PAIN SCALE: 5-6 on a scale of 0-10 PAIN CHARACTER: crampy, stabbing,
sharp, shooting DURATION: 6 months FREQUENCY: occurs constantly” “Does the patient
have difficulty performing or completing routine daily living activities? Yes, r/t (as a result

of the) pain”

On 11/15/2011, Ms. Burris underwent “Complex transvaginal cystorrhaphy, right
double-J stent placement, and open left ureteroneocystostomy, and left open ureteral
stent placement” also “Complex transvaginal cystotomy and significant left ureteral
injury; Vaginal excision of Prolift mesh and cystoscopy”. The operative findings revealed
more extensive problems than had been recognized at the time of clinical examination or
at pre-operative cystoscopy, the mesh was found to be densely adherent to the bladder
wall and left ureter resulting in “unavoidable” surgical injuries to both the urinary bladder

and the left distal ureter.

Surgery revealed not one, but two anterior vaginal mesh erosions “mesh erosion
in the left proximal arm and in the right distal arm” and Prolift mesh densely adherent to
the bladder wall and distal left ureter. The operative report documents — “the Prolift mesh
was in the bladder wall at this point and that the cystotomy was unavoidable and part of
the mesh excision procedure”. Further, “a piece of ureter was integrated with the mesh
making us believe that the left distal arm was in close apposition to the left ureter.” Also
stated, “the left ureterotomy was unavoidable because the mesh was intimately attached

to the distal left ureter.”

In the course of the procedure, Dr. Howard Goldman of Urology was consulted to
repair the bladder and the left ureter. Surgery involved dissecting “the entire bladder and
looked within the cystotomy noting that the right ureter was patent. He placed a double
-J catheter into the right ureter, so that that could be present during the cystotomy repair.
The left ureter had a distal (later) hole was partially transected and so the decision was
made to perform an open left ureteroneocystostomy through an abdominal incision.” The
record reflects - “the sling that is present was not eroded into the vagina and was not
palpable. As per our agreement with the patient, we left the TVT Secur sling intact and in

situ.”

Vaginal mesh pieces were sent for pathology. In the operative record Dr. Walters
includes — “COMPLICATIONS: A cystotomy with repair and a left ureterotomy and repair
both by Dr.. Goldman, but it was felt that these were an unavoidable part of the surgery
because the mesh was in the bladder wall and closely adherent to the left ureter.”

The postoperative course was complicated by symptomatic anemia and she
required a blood transfusion. Ms. Burris was discharged from hospital with an indwelling

Foley catheter for bladder drainage.

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The pathology report describes “Vaginal mesh” multiple irregular shaped
segments of tan-grey fibro membranous soft tissue admixed with blue synthetic mesh
material aggregating 5.4 X 3.8 X 1.3 cm. Pathological diagnosis is recorded as “vaginal
mesh excision — benign fibro-adipose tissue with chronic inflammation, giant cell reaction
and mesh-type foreign material — Pathologist Andres Roma MD

On 12/1/2011, Ms. Burris returned for cystography that demonstrated no
evidence of leak and the indwelling catheter was removed.

On 12/27/2011, Dr. Goldman performed a further cystoscopy to remove the
retained bilateral ureteral stents.

On 11/03/14, Ms. Burris presented to Dr. Maurice Chung of the Alliance for
Women’s Health with persisting symptoms described as “new/old with bladder
symptoms and problems with mesh.” The record states “she had a TVT with mesh and
Prolift in 2008 at Bluffton for a bladder prolapse. She was then seen in 2011 to have some
mesh removed due to pain, erosion and states it was coming through the vaginal wall.
States today the mesh still causes some pain that she has tolerated for the last 3 years,
but now she states she can feel the pressure like her bladder is dropping and it has just
gradually become worse over the last year. She c/o urinary urgency, dysuria and several
accidents of incontinence. Having pain running down the back of her left leg and pain
running down both arms, lower back pain. Having severe fatigue.”

On examination, features included atrophic vaginal mucosa and Grade 2 cystocele
present. Q-tip test was positive at 6:00 only, negative at 2:00, 4:00, 7:00 and 10:00. Pelvic
pain and tenderness was recorded — 4, perineal body tender, right obturator-3, right
pubococcygeus-4, Left pubococcgeus-4. The clinical assessment included, Urinary
Urgency, Incontinence, Urge, Dyspareunia, Pudendal Neuralgia, Atrophic Vaginitis, pelvic
Myofascial pain, Incomplete Bladder Emptying and Post-Void Dribbling.

On 11/05/2014, Ms. Burris was seen again with complaints of urge incontinence,
urgency and frequency, and Dr.. Chung ordered urodynamic testing to be done.
Assessment included Incontinence, Urge, Urinary Frequency and Urinary Urgency

On 11/26/14, further visit with Dr. Maurice Chung — “The patient is here today to
follow up from urodynamic testing after being seen as a new/old early this month with
complaints of urge incontinence and muscle and nerve pain. Patient states she is still
having a lot of the urgency and has had one accident of leaking since having her
urodynamics done. Her biggest complaints are the abdominal and back pain from her
previous surgeries, states she has severe pain at work with heavy lifting. Her urodynamic
testing showed negative results. Exam from 11/3/14 showed 4 Perineal Body tender, R
obturator-3, R pubococcygeus-4, L pubococcygeus-4 VALLEIX: Right tender-3, Left tender-

4”
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Assessment included Incontinence, urge, Pelvic myofascial pain and Atrophic vaginitis
Ms. Burris was offered Valium tablets 5mg

On 12/12/14, Ms. Burris returned for Potassium Sensitivity study. Complaints
were recorded as Back pain, dyspareunia, dysuria, incontinence, pelvic pain, SUI, and

urgency.
Assessment included Dysuria, Urinary Urgency and Chronic Pelvic Pain

On 1/05/15, Ms. Burris was seen again by Dr. Chung who recorded chief
complaints of:

Post-Void Dribbling
Incomplete Bladder Emptying

e Urge Incontinence
e Myofascial pain

® Urgency

e Pudendal Neuralgia
e Atrophic Vaginitis

e

e

History of Present Illness includes — “She presents to the office today to follow up
a mild positive on a PST. The patient had a PST done 12/12/14. Results were mild positive
with Solution B. On last exam, pt had a grade 2 cystocele. Patient also reported pain on
the RO rating a 3, the LO rating a 4, the RPC rating a 3, and the LPC rating a4. Patient states
she often feels pain that feels like a rubber band is being flicked at her.”

Further medication was prescribed - Elmiron oral capsule 100 mg tid and Dr.
Chung provided a work excuse for a one month absence from work.

On 1/06/15, Ms. Burris had the first of a series of Rescue Rinse urinary bladder
washes for painful bladder syndrome. History was recorded — “Urgency 8/10; Frequency
6-7 times; Pain 5/10; Nocturia 0. Relief with RR first time.”

On 1/12/15, Rescue Rinse #2 “Urgency 8/10; Pain 5/10; Nocturia 0. Relief with RR
first time, watching what she eats.”

On 1/14/15, Rescue Rinse #3 “Urgency 7/10; Frequency 6x; Pain 4/10; Nocturia
0.”

On 1/16/15, Rescue Rinse #4 - Urgency 8/10; Frequency 6-7; Pain 10/10; Nocturia
0. Relief: “I was getting some, but now it’s worse.”

1/19/15 to 1/29/19 Rescue Rinse #5, #6, #7, #8 — Urgency 8/10; Frequency 6; Pain
8/10; Nocturia 0. Relief: “Not having very much relief after rinses and is having bladder

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spasms for two days following each rinse.” My last rinse, “I only had relief for an hour or

”

So.

On 2/2/15, reviewed by Dr. Maurice Chung Follow-up after a course of 8 Rescue
rinses. “The patient is following up today after her 8th rinse patient states she did not
have many complaints of urinary problems just pelvic pain that she rates a 2/10 today but
usually gets up to an 8/10 on a daily basis, states after getting a rinse she would have
relief for maybe an hour on occasion she would be back in pain when getting out to the
parking lot. The patient had a PST (potassium sensitivity test) done 12/12/14. Results
were mild positive with Solution B. On last exam, patient had a grade 2
cystocele.

Recommendations included MRI of the spine with contrast to rule out possible
herniated disc, Physical therapy and medication for pain control - Gabapentin

On 2/19/15, MRI of Lumbar Spine, Lima Memorial Health Systems — the findings
were unremarkable.

On 3/11/15 Further follow-up with Dr. Chung - chief complaint was back pain and
abdominal pain. “The patient states she never did physical therapy. She is taking the
Neurontin (Gabapentin) 300mg one in the morning and two at HS. She doesn’t feel like
it’s helping much and she now has nocturia that she never had before. She is also doubling

her Elavil at hs. (Before bed)”

The clinical assessment included Pelvic myofascial pain improving, back pain
worsening and herniated lumbar intervertebral disc. Further medication was prescribed -
adding Anaflex oral tablet 4mg in addition to:

Diazepam oral tablet 10mg

Elmiron oral capsule 100mg
Gabapentin oral capsule 300mg
Strongly recommend physical therapy

On 3/26/15, Susan Hubbell, MD of Physical Medicine Associates of NW Ohio
evaluated Ms. Burris for Physical Therapy Prescription:

e Pelvic floor exercises for incontinence and pelvic pain and spine ergonomics.

e 2times a week for 8 weeks
Chronic Problems listed included DDD (Degenerative disc disease) lumbar, OA
(Osteoarthritis) lumbar/ LS (lumbosacral) spine, Pelvic peritoneal adhesions and
Lumbago/ Low back pain

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Clinical Evaluation includes — “Patient is a 49-year-old female who complains of
pain in her back rated at a 3/10 within the last 24 hours, and that her average pain is 4/10.
Her pain is described as stabbing, sharp, squeezing, throbbing, cramping, and shooting. It
is aggravated during movement, sitting and standing, but gets relief when she lays down.
Her pain interferes with her mood, walking ability, normal work, sleep, cleaning, and

enjoyment of life.”

“She states that she takes Gabapentin x3 per day and that helps, as well as
Amitriptyline at bed time to sleep. She worked for 8 years at Ohio Northern as janitor
until the pain required her to stop. She does not think she is any better since she has

stopped work.”

“She reports numbness of her feet. She gets pain radiating from her buttock down
the back of her leg and had been told she has “sciatica”. Sometimes both of her legs are
involved. When she walks, she gets tingling in her feet. She has no incontinence of bowel

and is not constipated.”

Past Medical History includes — “Positive for chronic back pain and interstitial
cystitis with problems with her bladder. She is not diabetic and has no history of
hypertension, heart disease, kidney or liver disease. Dr.. Chung’s records describe bladder
surgery, endometrial resection, supracervical hysterectomy, and vaginal anterior repair
with mesh. She is treated for depression, kidney stones, pudendal neuralgia, and pelvic

myofascial pain.”
Clinical Impression includes:

Osteoarthritis of the lumbar spine.
Degenerative disc disease of the lumbar spine.
Low back and leg pain.

Interstitial cystitis.

Pelvic myofascial pain.

WP WN

On 4/20/15, Ms. Burris returned to Dr. Maurice Chung, for a one month follow-up
“Patient states she has her days of worse pain--depending on what patient does during
the day. Pt has started the physical therapy, states it is going well. Pt goes every Tuesday
and Friday. Patient is wondering if she has a mild case of spinal stenosis. Pt was told it was
mild but states it hurts too bad to be mild.”

On physical examination, “mild tenderness to palpation present in the uterus” was
recorded. Clinical assessment included:

1. Left pelvic Myofascial pain worsening.
2. Back pain worsening.

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Herniated lumbar intervertebral disc.
Left lower abdominal pain worsening.
5. Depression.

Pw

On 4/21/15, Dr. Chung performed left abdomen myofascial trigger point
injections.

At follow up on 4/29/15, Ms. Burris reported “about 75% improvement with her
pelvic pain until yesterday. The pain started back yesterday #2-3/10, today is also #2/10
"but | can live with that". Patient has no desire to have any more trigger point injections.
70% better.”

Clinical assessment:

1. Abdominal pain improving.
2. Pelvic myofascial pain improving

On 5/22/15, Ms. Burris returned to Susan Hubbell, MD for office visit “Follow-up
for low back pain and pelvic pain. She did go to physical therapy at Lima Memorial for 11
sessions. Unfortunately, the only physical therapist that dose pelvic floor therapy does
not take her insurance. She said that the physical therapy was “helpful.” “Dr.. Chung did
a trigger point injection, and thinks that has helped.” Clinical impression was “Some
improvement after physical therapy to her low back pain.”

Plan:

1. Discussion that pain is generating from multiple areas and that any one treatment
will not take care of all the pain. Physical therapy is to work on her low back and
hip pain and the Dr. Chung will be addressing the pelvic area.

2. Provided pelvic floor exercise handout to complete at home.

3. Encouraged physical therapy; however, will stop physical therapy due to hardship
of traveling to Lima for the program.

On 6/30/15, Maurice Chung, MD of Lima Memorial Health System performed
bilateral pudendal nerve perineuronal injection and block for chronic pelvic pain and
pudendal neuralgia. Procedure included bilateral pudendal nerve perineuronal injection
and block. Injection was placed to the left ischial spine perineuronal region. After
injection on the left side, the procedure was then directed to the right side.

On 8/26/2015, Dr. Walters performed further vaginal surgery — Trachelectomy
(removal of the cervix) with vaginal vault suspension and Anterior and Posterior repair for
“persistent chronic pelvic pain and recurrent prolapse”. (Grade 3) The TVT Secur was not
removed nor revised at that time.

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Findings Normal appearing cervix.
Stage 3 cervicovaginal prolapse well supported at the conclusion of the procedure.

Adequate vaginal length and caliber at the conclusion of the procedure.

No trauma suture or foreign body in the bladder, clear ureteral efflux of
fluorescein in right UO, left reimplanted UO with probable efflux.

5. Scar from prior midline cystotomy, visualized well heated.

PWN Pp

Pre-op/Pre-procedure Diagnosis: cervicovaginal prolapse.

Operative Indications:

Presented with recurrent stage 3 cervicovaginal prolapse. She initially underwent
supracervical hysterectomy with subsequent anterior Prolift and TVT secure sling. She
then experienced anterior vaginal wall mesh erosion with pain and vaginal discharge. She
had a vaginal excision of mesh at which time she had a cystotomy and urethrotomy
(ureterotomy), which were repaired intraoperatively both vaginally and abdominal left
ureteral reimplantation. It appeared that her Prolift mesh was imbedded in the wall of
the bladder. After this procedure her urinary tract function returned to normal, she had
multiple normal renal ultrasounds preoperatively but she has persistent chronic pelvic
pain and recurrent cervicovaginal prolapse.

Operative Procedure:

“First, the vaginal trachelectomy was performed. The uterosacral vaginal vault
suspension was then performed. The anterior vaginal wall was evaluated we proceeded
with anterior repair. We took extra care with dissection due to scarring from prior repair
and in order to avoid cystotomy. Next, the uterosacral vaginal vault stitches were
anchored. We performed careful survey for 30 minutes to ensure patency and look for
third ureteral orifice. It was not able to be identified despite through evaluation. There
was very little concern for any ureteral obstruction given reassuring cysto findings and
location of the suspension from the reimplanted ureter.”

The final note in the available medical records is on 04/20/17, Rheumatologist,
Obie L Ramsay M.D. was consulted for ongoing problems of pain with symptoms of
chronic fatigue. Radiographic studies were done to exclude evidence of generalized
arthritis or tissue swelling that might support a rheumatic or arthritic cause. The studies
revealed no evidence of arthritis or soft tissue abnormality.

Tina Burris has experienced mesh-related complications including recurrent
vaginal mesh exposures, vaginal pain, chronic pelvic pain, dyspareunia, pudendal
neuralgia, urinary urgency, urinary incontinence and bladder dysfunction. These are
caused primarily by the Prolift anterior device with the TVT-Secur, more likely than not, a

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significant contributing factor. These injuries are the direct result of the defects inherent
in these devices, including source of chronic inflammation, foreign body reaction,
shrinkage, deformation, scarring and fibrosis, hardening, nerve damage, and degradation
of the polypropylene mesh. These injuries were foreseeable based on experience with
hernia mesh and the use of mesh in other pelvic applications.

Ms. Tina Burris’s care and treatment met the standard of care. Specifically, the
implant operative note does not reveal any errors in surgical technique. Ethicon did not
provide guidance on the management of complications for doctors using their products.
There were safer alternatives that would have avoided the injuries experienced by Ms.
Burris, including native tissue repairs, paravaginal repairs and colpopexy. In addition,
there were devices biologic materials, including autologous grafts, allografts and
xenografts that would have been safer alternatives, and would have alleviated the

complications sufferance by Ms. Burris.

| performed a differential diagnosis to reach these conclusions. Exposure of mesh
and erosion of mesh are unique complications of mesh. Ms. Burris did not have any
significant pelvic pain issues nor dyspareunia prior to implantation of the vaginal mesh
products. Ms. Burris is menopausal and, like all women who are menopausal, has some
degree of vaginal atrophy. Likewise, this is not the cause of her vaginal symptoms and
exam findings. Vaginal atrophy does not produce focal pain or findings and is treatable
with local estrogen. Past history of kidney stones did not help to explain the clinical
course. Endometrial resection in 2003 and supracervical hysterectomy in 2008 did not
contribute to the ongoing clinical symptoms.

Dr. Brown, the implanting surgeon was aware of the initial symptoms of urinary
urgency and frequency, but did not recognize the vaginal mesh erosion that came later.
Dr. Kuk first diagnosed the mesh complication, but had not been trained to manage the
complications of Prolift, instead Ms. Burris had to be referred on to seek help from a mesh
retrieval specialist at the Cleveland Clinic. Referral was clearly needed in this case because
the revision surgeries proved to be complex and complicated by unavoidable surgical
injuries not only to the bladder, but also to one ureter.

Clinical evaluation had underestimated the extent of the problem. The operative
findings revealed not only one, but two anterior vaginal mesh erosions “mesh erosion in
the left proximal arm and in the right distal arm” and Prolift mesh densely adherent to
the bladder wall and distal left ureter. The operative report documents — “the Prolift mesh
was in the bladder wall at this point and that the cystotomy was unavoidable and part of
the mesh excision procedure”. Further, “a piece of ureter was integrated with the mesh
making us believe that the left distal arm was in close apposition to the left ureter.” Also
stated, “the left ureterotomy was unavoidable because the mesh was intimately attached
to the distal left ureter.” The urogynecology specialist Dr. Walters had to call on Dr.
Goldman to come to the operating room to assist in the surgical repairs, and excessive
blood loss resulted in the need for post-operative blood transfusion.

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Dr. Walters performed surgical revision with excision of the eroded Prolift, more
than 3 years after the initial mesh placement. This case reflects a very common feature
of mesh complications, that problems typically occur years after implantation; the
medical literature is burgeoning with reports of single center series with only short term
follow up and these studies by definition are blind to late and long-term patterns of
complication. This may help to explain why the private practitioners of gynecology and
urology have been so much slower than academic pelvic surgeons to recognize the
inherent dangers of vaginal mesh design.

| reviewed the IFUs for the Prolift and TVT-S devices. In no way, does the IFU
describe the injuries experienced by Tina Burris. The IFUs do not provide information
regarding the frequency, severity, lack of responsiveness to treatment, and permanence
of complications associated with the product. They provide no guidance to doctors on
ways to manage these complications. The IFUs misrepresent the material properties of
polypropylene by describing “a minimum to slight inflammatory response, which is
transient”, a “deposition of a thin fibrous layer of tissue”, and “soft and pliable”. The IFUs
also state that the mesh is not “subject to degradation or weakening by the action of
tissue enzymes.” The peer-reviewed scientific and medical literature clearly contradicts
these statements. The IFUs incorrectly state that a “transitory local irritation at the wound
site and a transitory foreign body may occur”.

The IFUs also misrepresent the life-changing and unique complications associated
with transvaginally placed mesh devices by stating “potential adverse reactions are those
typically associated with surgically implantable materials”. This is inconsistent with the
medical literature and my clinical experience. The IFUs do not address the potential for
ongoing adverse events. They do not address the recalcitrant and recurrent nature of
many vaginal mesh exposures and erosions. The IFUs do not address the risk of
permanent vaginal scarring and distortion, chronic pain, sexual impairment, and
dyspareunia. The IFUs do not inform physicians of the difficulty and risks involved in
removing these devices, the need for multiple surgeries, or the failure of surgery to
correct the problems in many cases.

Ms. Burris’s prognosis is guarded due to the chronicity of her symptoms and the
presence of retained Prolift arms. In addition to the remaining mesh in the anterior
compartment, the TVT-S is still in place, and it is likely that she will require additional
medical, and even further surgical treatment to address her ongoing chronic pelvic pain

and other symptoms.

In my opinion, the TVT-S and Prolift devices used in Ms. Tina Burris were
unreasonably dangerous because the risks far outweighed the benefits, Ethicon did not
warn doctors and patients of the serious risks, and Ethicon made inaccurate and
misleading representations as to safety of the devices. These devices were unreasonably
dangerous because Ethicon did not provide Ms. Tina Burris or her doctors with accurate

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and complete information and warnings. Finally, claims made by Ethicon regarding the
products’ performance that were known to be misleading or untrue make the products

unreasonably dangerous.

| reserve the right to supplement my opinions regarding her injuries and
reasonable necessity of future care as her prognosis develops.

V. EXHIBITS
My current curriculum vitae is attached here to as Exhibit “A.”

All exhibits that will be used to support my findings and opinions or
documents/data that | have reviewed in connection with this report and/or referenced
herein are listed in Exhibit “B,” as well as:

Medical records of Tina Burris

Ethicon’s Instructions for Use

Prior Expert Reports of Dr. Niall Galloway, /N RE; ETHICON INC., PELVIC REPAIR
SYSTEM PRODUCTS LIABILITY LITIGATION, MDL No. 2327

Expert reports of Dr. Jerry Blavis, IN RE: ETHICON INC., PELVIC REPAIR
SYSTEM PRODUCTS LIABILITY LITIGATION, MDL No. 2327

Vi. RECENT TESTIMONY

To the best of my knowledge, in the previous four years, | have testified, by
deposition or in trial, in the cases identified on the attached Exhibit “C”.

Vil. COMPENSATION
The compensation which | expect to be paid for this case is as follows:
Record Review or Review of Deposition Testimony $600/hour.

Final Report (required in this case) $6,000.

Future time to be spent in Deposition or in Court appearance, if needed $1,000/hour.

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| declare under penalty of perjury that the foregoing is true and correct.

Niall T M Gaffoway, MB, FRCS

August 18"", 2019

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